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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

x
CIVIL ACTION

DAVE H. WILLIAMS and :
REBA W. WILLIAMS, ; NO.: 3:16-cv-01633 (VAB)

Plaintiffs/Counterclaim
Defendants

Vv.

RANDALL BEAN ET. AL.,

Defendants/Counterclaim
Plaintiffs

 

PLAINTIFFS/COUNTERCLAIM-DEFENDANTS’
MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
SUMMARY JUDGMENT PURSUANT TO FED. R. CIV. P 56

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INTRODUCTION

Pursuant to Fed. R. Civ. P. 56 (“FRCP 56”)' and D. Conn. Local Rule 56(a)(1),
Plaintiffs/Counterclaim-Defendants Dave Williams (“Mr. Williams”) and Reba Williams (“Mrs.
Williams”)(collectively, “Plaintiffs”) by their undersigned attorneys, move for an order granting
partial summary judgment (i) in Plaintiffs’ favor with respect to the First, Second, and Third
Causes of Action (the “Claims”) asserted against Defendants/Counterclaim-Plaintiffs Randall
Bean (“R. Bean”), Elizabeth Black (“E. Black”), Christopher Bean (“C. Bean”), and Matthew
Bean (“M. Bean”)(collectively, “Defendants”) in Plaintiffs’ Complaint (the “Complaint”, ECF
Docket No. 1) in this action (the “Action”) and (ii) against Defendants with respect to each of
their Counterclaims (the “Counterclaims”)’ asserted against Plaintiffs in Defendants’ Answer
and Amended Counterclaims. (ECF Docket No. 40).

For the reasons set forth below, in the SOF, and in the exhibits thereto, Plaintiffs
respectfully request that the Court grant the within motion (the “Motion”).

ARGUMENT
I. Legal Standard Pursuant To F.R.C.P. 56

It is well-settled in the Second Circuit that a “Court will grant a motion
for summary judgment if it determines that there is no genuine dispute of material fact and the
movant is entitled to judgment as a matter of law.” Equal Employment Opportunity Commission

v, Day & Zimmerman NPS, Inc., 265 F.Supp.3d 179, 190 (D. Conn. 2017) (Bolden, J.); Celotex

 

' Defined terms not otherwise defined herein shall have the meanings ascribed to them in Plaintiffs’ Local Rule
56(a)(1) Statement of Undisputed Material Facts (the “SOF”) filed contemporaneously herewith. Citations in the
form “(SOF (Ex. _))” and “(SOF §__)” shall refer, respectively, to the enumerated exhibits to and paragraphs in the
SOF. Relevant page and line deposition transcript citations can be found in the specific, cited SOF paragraphs herein
and are not repeated herein due to the volume of those citations. Citations to enumerated paragraphs in the SOF
shall incorporate by reference citations to the specific exhibits in each cited paragraph.

2 Plaintiffs seek summary judgment with respect to all of the Counterclaims but, with regard to the Third
Counterclaim, only seek summary judgment with respect to the specific communications listed in and contained
within Exhibit W to the SOF.
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Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); Carlton v. Mystic Transp., Inc., 202 F.3d 129,
133 (2d Cir. 2000); Wright v. Goord, 554 F.3d 255, 266 (2d Cir. 2009) Pursuant to FRCP 56,
the “moving party bears the burden of showing that no genuine dispute of material fact exists”;
“To]nce the moving party has satisfied that burden, the nonmoving party ‘must set forth specific
facts demonstrating that there is a genuine issue for trial’ in order to defeat the motion

for summary judgment.” Day & Zimmerman NPS, Inc., 265 F.Supp.3d at 190; Carlton, 202 F.3d
at 133-34; Wright, 554 F.3d at 266; Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986);
Fletcher v. Atex, Inc., 68 F.3d 1451, 1456 (2d Cir. 1995)(“a party may not rely on mere
speculation or conjecture as to the true nature of the facts to overcome a motion for summary
judgment”)(internal citation omitted).

The “mere existence of some alleged factual dispute between the parties will not defeat
an otherwise properly supported motion for summary judgment; the requirement is that there be
no genuine issue of material fact.” Anderson, 477 U.S. at 247-48 (emphasis in original).
Summary judgment is properly granted when a party fails to “present admissible evidence in
support of their allegations; allegations alone, without evidence to back them up, are not
sufficient.” Welch-Rubin v. Sandals Corp., No. 3:03-cv-481, 2004 WL 2472280, at *1 (D. Conn.
Oct. 20, 2004)(quotation omitted); Uyar v. Seli, 3:16-CV-00186, 2018 WL 1587464, at *7-8 (D.
Conn. April 1, 2018).

Further, “[i]f a nonmoving party has failed to make a sufficient showing on an essential
element of his case with respect to which he has the burden of proof, then summary judgment is
appropriate.” Celotex, 477 U.S. at 323; Fernandez-Bravo v. Manchester, No. 3:12-cv-01103,

2016 WL 7238791, at *3 (D. Conn. Dec. 14, 2016).
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II. SUMMARY JUDGMENT SHOULD BE GRANTED IN
PLAINTIFFS’ FAVOR WITH RESPECT TO THE CLAIMS

A. The Undisputed Material Facts Demonstrate That Plaintiffs

Are Entitled To Summary Judgment Against C. Bean? With

Respect To The First Count For Invasion Of Privacy

Under Connecticut law, “[o}ne who intentionally intrudes physically or otherwise, upon
the solitude or seclusion of another or his private affairs or concerns, is subject to liability to the
other for invasion of privacy, if the intrusion would be highly offensive to a reasonable
person.” Gallagher v. Rapoport, No. CV 9601498918, 1997 WL 240907, at *2 (Conn. Super.
Ct. May 6, 1997); WVIT. Inc. v. Gray, No. CV 9505476898, 1996 WL 649334, at *2-3 (Conn.
Super. Ct. Oct. 25, 1996)(invasion of privacy “may be by some...form of investigation...into [a
party’s] private concerns.”)(citing Restatement (Second) of Torts §652B)). The “fact of
surreptitiously monitoring” “in and of itself...constitutes the intrusion [of] privacy” where such
conduct “was designed to elicit information which would not be available through normal
inquiry or observation.” WVIT, Inc., 1996 WL 649334, at *3 (internal citation omitted).

The undisputed evidence, including C. Bean’s explicit admissions at his deposition,
confirms that C. Bean “intentionally intrud[ed]...upon the solitude or seclusion of” Plaintiffs’
“private affairs or concerns” by eavesdropping on, surveilling, monitoring, and photographing
Plaintiffs and the Williams Property on various dates in, at least, June and July 2016. Jd.;
Vasyliv v. Adesta, LLC, CV 1060117378, 2010 WL 5610901, at *3 (Conn. Super. Ct. Dec. 20,
2010); Gleason v. Smolinski, CV0650051078, 2009 WL 2506607, at *3 (Conn. Super. Ct. July
20, 2009); Bonanno v. Dan Perkins Chevrolet, No. CV99-066602, 2000 WL 192182, at *1-2

(Conn. Super. Ct. Feb. 4, 2000); Madera v. Hartford Housing Auth., No. CV095034046S, 2010

 

3 Plaintiffs seek summary judgment only against C. Bean with respect to the First Count. Plaintiffs are filing a
Stipulation of Voluntary Discontinuance with respect to Plaintiffs’ claims solely against M. Bean
contemporaneously herewith.
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WL 3961257, at *4-5 (Conn. Super. Ct. Sept. 8, 2010)(invasion of privacy “may...be by the use
of the defendant’s senses...to oversee or overhear the plaintiff's private affairs, as by looking
into his upstairs windows with binoculars...”)(citing Restatement (Second) of Torts §562B)).
(SOF, §938-75). By way of illustration and summary:

On July 8, 2016, C. Bean admittedly photographed Plaintiffs and the Williams Property
and eavesdropped on private conversations occurring at the Williams Property. (SOF, §{42-48).
On that date (July 8, 2016), C. Bean “shadowed” Plaintiffs and McMillan, “following” them
“step for step” along the hedges dividing the Bean Property from the Williams Property as they
walked toward the sea wall, and then brazenly climbed onto the seawall abutting the Bean
Property and Williams Property, where he “star[ed]” at Plaintiffs, ignoring Mrs. Williams’
alarming demand that he stop. (SOF, 943-44).

Undeterred, after Plaintiffs and McMillan moved to Plaintiffs’ porch to continue their
discussion in private, C. Bean intensified his wrongdoing by photographing them and the
Williams Property from the Bean Property using his mobile device. (SOF, 45-46). Moreover,
it is undisputed that, on that date, C. Bean eavesdropped on Plaintiffs’ and McMillan’s private
conversations at the Williams Property, reporting the contents of such private conversations to
E. Black via text message. (SOF, 42-49).

Astoundingly, despite the fact that Mrs. Williams was visibly “emotionally quite
disturbed” during C. Bean’s surveillance of her on July 8, 2016, C. Bean brazenly intensified the
scope and severity of his intrusive acts on July 19 and 20, 2016. (SOF, 144, 53-63). On those
dates, C. Bean admittedly, continuously photographed and monitored the Williams Property for

several hours on both dates, simultaneously reporting the private activities thereon and
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transmitting photographs of same to R. Bean and E. Black via text messages “at [their] request” .
(SOF, 953-63).

In conveying their monitoring “request[s]” to C. Bean on those dates, R. Bean and E.
Black broadcast to C. Bean their intense, personal animosity and rancor toward Plaintiffs, by
describing Mr. Williams and Mrs. Williams with invective, including “assholes”, “freaks”, and
“lunatics”. (SOF, 4947-49, 54-56, 61-63; Ex. R). Indeed, R. Bean prefaced his “request” to C.
Bean for “updated” “photos” of the Williams Property with an unambiguous, hostile directive, to
wit: “hope they are afraid of us”. (SOF, §62).

On each of the foregoing dates, C. Bean was the only one of the four (4) Defendants at
the Bean Property when he committed the aforesaid wrongful acts. (SOF, 450-52, 57-59, 62,
64). Indeed, each of the other Defendants expressly admitted that he/she lacks any personal,
firsthand knowledge whatsoever regarding C. Bean’s actions on July 8, 2016, July 19, 2016, and
July 20, 2016 and, thus, have no facts whatsoever to support their denials in Defendants’
Answer" with respect to the First Count. (SOF, 50-52, 57-59, 64); Craig v. Colonial Penn Ins.
Co., 335 F. Supp.2d 296, 306 (D. Conn. 2004) (deposition “testimony does not create a material
dispute” without “personal knowledge about what actually happened”). Yet, C. Bean admitted
under oath at his deposition that he does not even know his own basis for denying the allegations
in the First Count and/or for any of his Affirmative Defenses with respect to same, as set forth in
Defendants’ Answer. (SOF, 438).

It is undisputed that, under the well-settled law, C. Bean’s aforesaid actions were

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undertaken without Plaintiffs’ authorization or consent, and intruded upon Plaintiffs’ “private

affairs or concerns” in a “sphere[] from which [they] could reasonably expect” C. Bean to “be

 

4 «Defendants’ Answer” shall refer to the Answer within Defendants and Counterclaim Plaintiffs’ Answer and
Amended Counterclaims To Plaintiffs And Counterclaim Defendants’ Complaint.” (SOF, Ex. B).

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excluded”, namely, Plaintiffs’ private home at the Williams Property. WVIT, Inc., 1996 WL
649334, at *3 (internal citation omitted); Gullong v. Nurmi, CV156013784, 2017 WL 960989, at
*9 (Conn. Super. Ct. Feb. 8, 2017) (“[s]urveillance of a person’s residence has been recognized
as a particularly sensitive area including a higher level of privacy...”); (SOF, 9934, 42-62).
Moreover, C. Bean admittedly did not have Plaintiffs’ authorization to monitor, stare at, and/or
photograph them and/or the Williams Property. (SOF, 439-41). In point of fact, the exact
opposite is undisputedly true, in that Mrs. Williams vehemently directed C. Bean on July 8, 2016
not to stare at her while she is on the Williams Property. (SOF, 9944-45, Ex. Q).
Unquestionably, C. Bean’s invasion of Plaintiffs’ privacy was “highly offensive to a

reasonable person” and was, in fact, irrefutably “highly offensive” to Plaintiffs. Gleason, 2009

 

WL 2506607, at *3; Bonanno, 2000 WL 192182, at *1-2; (SOF, 9944, 65). Moreover, the
overwhelming evidence confirms that C. Bean’s foregoing acts were purposely calculated to be
“highly offensive” to Plaintiffs and, indeed, targeted to cause them to be “afraid of Defendants.
(SOF, 9929, 44, 45, 56, 62, 65, 71-75) (emphasis added). Underscoring the malicious intent and
effect of C. Bean’s aforesaid acts, on July 19, 2016 (the date on which C. Bean admittedly
photographed the Williams Property), C. Bean text messaged M. Bean “I went SUPing and
waved at her, cunt”, to which M. Bean replied “Love getting in their face”. (SOF, 75).

Solely by virtue of the secretive and furtive nature of C. Bean’s conduct, it was “highly
offensive to a reasonable person” under the well-settled law. (SOF, 39-63); WVIT, Inc, 1997

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WL 644904, at *2 (“secret” “recording” is “highly offensive to a reasonable person” “no matter

where it occurred and no matter what it related to”)(citing WVIT, Inc. v. Gray, No. 9505476898,

1996 WL 649334, at *4 (Conn. Super. Ct. Oct. 25, 1996).
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As a result of the foregoing, Plaintiffs have suffered damages, including the cost to install
the Subject Trees as a remedial measure to protect against further invasions of Plaintiffs’ privacy
by C. Bean from the Bean Property, as well as loss of income due to Plaintiffs’ diversion from
their professional literary endeavors. (SOF, 32-33, 67-68).

Accordingly, summary judgment should be granted against C. Bean with respect to the
First Count.

B. The Undisputed Material Facts Demonstrate That Plaintiffs

Are Entitled To Summary Judgment Against R. Bean,

E. Black, and C. Bean With Respect To The Second Count

A civil conspiracy requires proof of “(1) a combination between two or more persons, (2)
to do acriminal or an unlawful act or a lawful act by criminal or unlawful means, (3) an act
done by one or more of the conspirators pursuant to the scheme and in furtherance of the object,
(4) which act results in damage to the plaintiff.” Harp v. King, 266 Conn. 747, 778-79 (Conn.
2003); Supreme Forest Prods., Inc. v. Kennedy, CV1660131628, 2018 WL 1936507, at *2-3
(Conn. Super. Ct. Mar. 27, 2018); Madera, 2010 WL 3961257, at *4-5.

Under Connecticut law, “a claim of civil conspiracy must be joined with an allegation of
a substantive tort.” Macomber v. Travelers Property & Casualty Corp., 277 Conn. 617, 636, 894
A.2d 240 (2006); Master-Halco, Inc. v. Natarelli, LLC, 739 F. Supp.2d 104, 106-07 (D. Conn.
2010). Moreover, “a plaintiff must show that the agreement” amongst the conspirators “was the
obtaining of a particular objective, and that the act taken in furtherance thereof caused the
plaintiff's injury.” Master-Halco, Inc., 739 F. Supp. at 107-08.

The undisputed evidence established that R. Bean, E. Black, and C. Bean “combine[d]”
to invade Plaintiffs’ privacy, as confirmed by their express admissions and substantial text

message correspondence which they exchanged simultaneously with C. Bean’s monitoring,

 

> Plaintiffs do not seek summary judgment against M. Bean with respect to the Second Count.

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eavesdropping on, and photographing Plaintiffs and the Williams Property on July 8, 2016, July
19, 2016, and July 20, 2016. (SOF, {§29,42-70); Harp, 266 Conn. at 778-79; Supreme Forest
Prods., Inc., 2018 WL 1936507, at *2-3; Madera, 2010 WL 3961257, at *5 (“conspiracy...to
unreasonably intrude on the plaintiff's privacy” can be established where parties “directed or
conspired...to record [] telephone conversations without [party’s] knowledge”).

It is undisputed that, on at least July 8, 2016, July 19, 2016, and July 20, 2016, R. Bean
and E. Black expressly, affirmatively “request[ed]” and instructed C. Bean to monitor,
photograph, and continuously “update” them regarding the private activities occurring at the
Williams Property on those dates and, thus, R. Bean and E. Black admittedly “directed” C.
Bean’s aforesaid wrongful conduct. Madera, 2010 WL 3961257, at *5; Harp, 266 Conn. at 780-
781; (SOF, 9947-49, 53-56, 60-63).

As discussed, supra, and demonstrated by the substantial record, C. Bean did, in fact,
monitor, eavesdrop on, and photograph Plaintiffs and the Williams Property pursuant to R.
Bean’s and E. Black’s “request” — and their continuous instructions via text messages sent by
them on those dates -- and, thus, indisputably an “act [was] done” (indeed, a multitude of “acts”
(see, supra)) “in furtherance of’ R. Bean’s, E. Black’s, and C. Bean’s “conspiracy” to invade
Plaintiffs’ privacy. (SOF, 9947-49, 53-56, 60-63, 69-70); Madera, 2010 WL 3961257, at *5;
Harp, 266 Conn. at 780-781.

Accordingly, summary judgment should be granted against R. Bean, E. Black, and C.

Bean with respect to the Second Count.
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C. The Undisputed Material Facts Demonstrate That Plaintiffs

Are Entitled To Summary Judgment Against R. Bean and

E. Black With Respect To The Third Count

Under Connecticut law, a party is liable for aiding and abetting a tort when “(1) the party
whom the defendant aids ... perform[s] a wrongful act that causes an injury; (2) the defendant
[is] generally aware of his role as part of an overall illegal or tortious activity at the time that he
provides the assistance; [and] (3) the defendant must knowingly and substantially assist the
principal violation.” Fink v. Magner, 988 F. Supp. 70, 72 (D. Conn. 1997). The substantial
evidence conclusively shows that R. Bean and E. Black aided and abetted C. Bean’s invasion of
Plaintiffs’ privacy. (See, supra, at pps. 3-7); WVIT, Inc., 1996 WL 649334, at *3-4; (SOF, 41/6,
48-50, 54-57, 62-64, 70-71).

First, C. Bean tortiously invaded Plaintiffs’ privacy and, thus, “perform[ed] a wrongful
act that cause[d]” injury to Plaintiffs. (See, supra, at pps. 3-7); Id.; Fink, 988 F. Supp. at 72.

Second, indisputably, R. Bean and E. Black were “generally aware of” their “role[s] as
part of’ C. Bean’s “tortious activity”, as confirmed by the contemporaneous, voluminous text
messages exchanged between them and C. Bean on the subject dates. Id.; Fink, 988 F. Supp. at
72; (SOF, 947-49, 53-56, 60-63, 69-70).

Third, R. Bean and E. Black “knowingly and substantially assist[ed]” C. Bean’s “tortious
activity” by, inter alia, providing him with unrestricted access to the Bean Property, including
during the period of C. Bean’s tortious conduct, instructing C. Bean to photograph the Williams
Property and “update” them regarding the activities thereon, and by providing C. Bean with, and
paying for, the mobile device which he used to photograph Plaintiffs and the Williams Property,

and by which he sent such photographs and reported private information he “heard” while
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eavesdropping on Plaintiffs, to R. Bean and E. Black. Jd.; Fink, 988 F. Supp. at 72; (SOF, 4§/69-
70).
Accordingly, summary judgment should be granted against R. Bean and E. Black with

respect to the Third Count.

III. SUMMARY JUDGMENT SHOULD BE GRANTED IN PLAINTIFFS’
FAVOR WITH RESPECT TO THE COUNTERCLAIMS

A. The Undisputed Material Facts Demonstrate That Plaintiffs

Are Entitled To Summary Judgment In Their Favor With

Respect To The Second Counterclaim

As discussed, supra, an invasion of privacy claim requires proof of an “intentional|[]
intru[sion]... upon the solitude or seclusion of another or his private affairs or concerns” which
“would be highly offensive to a reasonable person.” Gallagher, 1997 WL 240907, at *2; WVIT,
Inc., 1996 WL 649334, at *2-3. The Second Counterclaim is based on barebones allegations that
Plaintiffs “intruded upon the seclusion of the Bean Family in their Property” through “numerous
provocative, harassing, and intimidating actions, as set forth above” (i.e., in Paragraphs 78-81 of
the Counterclaims)(the “Alleged Harassing Actions”). (SOF (Ex. B at 78-81, 118)).

As demonstrated below, in light of Defendants’ utter failure and inability to “present
admissible evidence in support of” an invasion of privacy claim, summary judgment should be
granted in Plaintiffs’ favor with respect to the Second Counterclaim. (SOF, 76-81); Welch-
Rubin, 2004 WL 2472280, at *1 (quoting Gottlieb v. County of Orange, 84 F.3d 511, 518 (2d
Cir. 1996)); Uyar, 2018 WL 1587464, at *8.

First, as established by Defendants’ own respective deposition testimony, Plaintiffs
indisputably did not “intentionally intrude[]...upon” Defendants’ “solitude or seclusion”, by

virtue of the Alleged Harassing Actions or otherwise. (SOF, 76-81); Gallagher, 1997 WL

240907, at *2; WVIT, Inc., 1996 WL 649334, at *2-3.

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Specifically, at C. Bean’s deposition, he admitted that he cannot identify any “harassing”
or “intimidating” actions whatsoever by Plaintiffs to support the Second Counterclaim. (SOF
76-77); Belfiore v. N.Y. Times Co., 654 F. Supp. 842, 851-52 (D. Conn. 1986)(summary
judgment granted when “admissions contained in the deposition testimony of the plaintiffs
contradict the allegations of the ...Complaint”).

Likewise, M. Bean unambiguously conceded that he did not witness any of the Alleged
Harassing Actions, and explicitly testified that he cannot identify any instance of harassment of
him whatsoever by Plaintiffs while he was at the Bean Property. (SOF, 78); Allen v. Verizon
Wireless, No. 3:12-cv-00482, 2015 WL 3868672, at *22 (D. Conn. June 23, 2015)(summary
judgment granted where “there is no evidence in the record that would support a finding that
[defendant’s] actions constituted an ‘intentional interference’ with [plaintiff's] interest in
seclusion.”).

Second, summary judgment is also warranted with respect to the Second Counterclaim on
the additional, independent ground that the record is devoid of any “admissible evidence”
whatsoever that Plaintiffs “intrude[d]” upon Defendants’ “private affairs or concerns.”
Gallagher, 1997 WL 240907, at *2 (emphasis added); WVIT, Inc., 1996 WL 649334, at *2-3;
Welch-Rubin, 2004 WL 2472280, at *1.

Rather, the Alleged Harassing Actions are comprised entirely of legally innocuous
conduct, i.e., Plaintiffs’ purportedly standing and/or positioning themselves in public (on the
public “sidewalk” and/or “street”) and/or on Plaintiffs’ own property (the Williams Property), as
well as purported, innocuous “gestures” and “point[ing]” — while Plaintiffs were in public and/or
on the Williams Property. (SOF (Ex. B at 978-81)). Defendants have not alleged and/or

proven — and cannot, under the applicable law -- that any of the Alleged Harassing Actions

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implicate, in any way whatsoever, any of Defendants’ “private affairs” — on the Bean Property or
otherwise. Ridgefield Waterside Motors, LLC v. Borg, CV165015844S, 2017 WL 3332744, at
*4 (Conn. Super. Ct. June 30, 2017)(“[nJeither defendant alleges that these contacts were made
in an area where they had a right to privacy or seclusion”); Carney v. Amendola, No.
CV106003738, 2014 WL 2853836, at *18 (Conn. Super. Ct. May 14, 2014)(“no evidence” of
“intrusion of a protected space”); Gullong v. Nurmi, CV156013784, 2016 WL 7165014, at *3
(Conn. Super. Ct. Nov. 8, 2016)(“the plaintiff's presence on the street outside the defendants’
home does not constitute an intrusion into a private place, and the gesturing and screaming are
not alleged to concern the defendants' private matters”)(emphasis added).°

Third, critically, in no uncertain terms, R. Bean unequivocally conceded at his deposition
that the Second Counterclaim is based on purported acts of “intrusion” by third-parties, not
Plaintiffs, i.e., “people taking pictures” of Defendants “in [their] own yard in [their] own home”
and “thronging around” “‘saying...there’s the people that were in the spy suit.” (SOF, 481). It is
irrefutable that purported “intrus[ive]” actions by third-parties — not Plaintiffs — cannot form the
basis for an invasion of privacy claim by Defendants against Plaintiffs. Gallagher, 1997 WL
240907, at *2; WVIT, Inc., 1996 WL 649334, at *2-3.

Fourth, the record is wholly devoid of evidence of any purported “intrusion” by Plaintiffs
which would be “highly offensive” to “a reasonable person” and/or which was, in fact, “highly
offensive” to any of the Defendants. Gallagher, 1997 WL 240907, at *2; WVIT, Inc., 1996 WL

649334, at *2-3; (SOF, 9976-81).

 

° Im Gullong, the plaintiff amended his complaint to remedy his ill-pled invasion of privacy claim with allegations
that the subject surveillance was “capable of intruding upon the interior of [defendant’s] home” and “exposing”
defendant’s “private views, affairs and/or concerns”. Gullong v. Nurmi, CV156013784, 2017 WL 960989, at *1-4
(Conn. Super. Ct. Feb. 8, 2017). In stark contrast, as discussed, supra, here, Defendants admittedly lack any
evidence whatsoever of any such “private” intrusion by Plaintiffs with respect to Defendants’ seclusion and, notably,
do not even allege same in the Counterclaims. Jd.; (SOF {{76-81).

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In point of fact, astonishingly, Defendants’ allegation in the Counterclaims that as “a
further result of the Williams’ harassment, the Bean Family is reluctant to go outside” and “avoid
inviting friends and family to visit” was exposed as an outright sham by virtue of Defendants’
express admissions at their depositions that they regularly hosted widely-attended parties at the
Bean Property and, in point of fact, invited approximately fifty (50) people to the Bean Property
throughout the summer of 2016 — the precise period during which Defendants contend Plaintiffs
“intruded upon the seclusion of the Bean Family.” (SOF, §79). Indeed, M. Bean admitted that
he has not been “prevented” from going in the backyard at the Bean Property due to any of the
matters alleged in the Second Counterclaim. (SOF, §80).

Moreover, further illustrating the undisputedly meritless nature of the Second
Counterclaim, Defendants have conceded that they have not sustained any damages whatsoever
as a result of the foregoing “harassment” (which purported acts of “harassment”, in any event,
have been firmly disproven (see, supra)). (SOF (Ex. B)). Notably, in the Counterclaims,
Defendants did not even allege any damages sustained by them specifically in connection with
the Second Counterclaim and, instead, merely, vaguely refer to “money damages” in their Prayer
for Relief with respect to all of the Counterclaims. (SOF (Ex. B at p. 38)). As established in
discovery, the “money damages” which Defendants alleged in this Action — diminution of the
market value of the Bean Property —was indisputably revealed to be without a shred of support
and, in point of fact, Defendants explicitly testified that they have not incurred any such
damages. (See, infra, at pps. 28-30); (SOF, J9129-132, 141, 145). Thus, the Second
Counterclaim is legally and factually baseless for this additional reason.

Accordingly, by virtue of the foregoing, summary judgment must be granted to Plaintiffs

and against Defendants with respect to the Second Counterclaim,

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B. The Undisputed Material Facts Demonstrate That Plaintiffs Are

Entitled To Summary Judgment In Their Favor With Respect To

The Third Counterclaim As Asserted By All Defendants

It is well-settled that “[t]o establish a prima facie case of defamation, the plaintiff must
demonstrate that: (1) the defendant published a defamatory statement; (2) the defamatory
statement identified the plaintiff to a third person; (3) the defamatory statement was published to
a third person; and (4) the plaintiff's reputation suffered injury as a result of the statement.”
Hopkins v. O'Connor, 282 Conn. 821, 838, 925 A.2d 1030 (Conn. 2007)(citation omitted);
Mercer v. Cosley, 110 Conn. App. 283, 296-97, 955 A.2d 550, 561 (Conn. App. Ct. 2008).
Moreover, a “plaintiff must prove that the...statements...caused pecuniary harm.” Daley v.
Aetna Life & Cas. Co., 249 Conn. 766, 795, 734 A.2d 112, 129 (Conn. 1999),’

It is fundamental that “[flalsity is an essential element of a defamation claim”. Abdul-
Salaam v. Lobo-Wadley, 665 F.Supp.2d 96, 101 (D. Conn. 2009). Further, the “substantial truth
of a given statement may be proven by the plaintiff's testimony”. Jones v. Globe Intl.,
Inc., 3:94:CV014681995, 1995 WL 819177, at *6, *8 (D. Conn. Sept. 26, 1995); Goodrich v.
Waterbury Republican-American, Inc., 188 Conn. 107, 448 A.2d 1317, 1332-33 (Conn. 1982)
(where “plaintiff conceded during direct examination that these statements were true...this
concession creates an absolute bar to his claim of libel as to these statements.”).

Further, in determining whether a statement is defamatory, the “threshold question is
whether, as a matter of law, the statement is an expression of fact or mere opinion.” Grossman v.

Computer Curriculum Corp., 131 F. Supp.2d 299, 312 (D. Conn. 2000). “Under Connecticut

law, each allegedly defamatory statement is a separate cause of action.” Dongguk Univ. v. Yale

 

7 Defendants have not pled a claim for defamation per se. While they vaguely referred to “defamation per se” in
their July 21, 2017 Opposition to Plaintiffs’ Supplemental Motion to Dismiss Amended Counterclaims, the
operative Counterclaims do not allege “defamation per se”; thus, in the event that Defendants belatedly rely upon
such unpled claim in opposition to this Motion, they are foreclosed from doing so as a matter of law. (ECF Docket
No. 62 at p. 13); Stefanoni v. Darien Little League, Inc., 101 F. Supp. 3d 160, 172 (D. Conn. 2015)(Bolden, J.).

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Univ., 873 F. Supp. 2d 460, 465 (D. Conn. 2012); Cweklinsky v. Mobil Chem. Co., 267 Conn.
210, 217, 837 A.2d 759, 763-64 (Conn. 2004).

Applying the foregoing standards, the substantial evidence in this case firmly establishes
that none of the Subject Emails defamed any of the Defendants for the reasons set forth below.
1, Defendants Have Unequivocally Admitted That Various Of The Subject Emails Do

Not Defame Them, And Thus Summary Judgment Must Be Granted At The

Outset With Regard To Each Of Those Admitted Non-Defamatory Emails

In no uncertain terms, R. Bean admitted at his deposition that the 2/9/16 Email,® 3/6/16
Email, 3/7/16 Email, and Second 3/7/16 Email do not defame him; and E Black admitted that the
2/9/16 Email, 3/6/16 Email, 3/4/16 Email, Second 3/4/16 Email, 3/14/16 Email, 4/5/16 Email,
Second 4/5/16 Email, and 6/3/16 Email do not defame her. (SOF, 982-83).

R. Bean and E. Black unequivocally conceded at their depositions that the 8/31/15 Email,
2/9/16 Email, 3/4/16 Email, Second 3/4/16 Email, 3/6/16 Email, Second 3/7/16 Email, 3/14/16
Email, and Second 4/5/16 Email do not defame C. Bean and/or M. Bean. (SOF, {{84-85).

Thus, Plaintiffs are entitled to summary judgment against Defendants with respect to the

above-listed Subject Emails (collectively, the “Admitted Non-Defamatory Emails”).

2. M. Bean Admitted That His Only Purported Ground For Claiming That The
Subject Emails Defame Him Is By Imputation As A Member Of The “Bean Family”

M. Bean testified that his entire basis for asserting that he was defamed by the Subject
Emails is by “implication” and inference, due to his status as “part of the Bean family” and by
merely being “related to” any of the other Defendants identified in the Subject Emails. (SOF,
490-91). M. Bean’s specious attempt to recover damages for defamation, indirectly and wholly

by tenuous imputation, is without legal basis and, in point of fact, flatly contravened by the

 

® The Subject Emails for which Plaintiffs seek summary judgment are listed in the Index to Exhibit W (attached to
the SOF), and are referenced in this Motion by the definitions ascribed to them in the Index.

 

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governing law. Mara v. Otto, CV065001188S, 2009 WL 3285075, at *2-3 (Conn. Super. Ct.

Sept. 9, 2009); (SOF, 490-91).

Indeed, it is firmly entrenched under Connecticut law that “an action for defamation is
personal to the party defamed and may not be asserted by a third party”; thus, “there can be no
recovery for a libelous or slanderous statement relating to another, including a relative ot a
spouse even if the statement indirectly inflicts some injury upon the person seeking
recovery.” Mara, 2009 WL 3285075, at *2-3 (“[m]Jembers of a family, such as a spouse, may
not sue for the defamation of other family members.”)(emphasis added)(internal citations
omitted); QSP, Inc. v. Aetna Cas. & Sur. Co., 256 Conn. 343, 356-57, 773 A.2d 906, 916 (Conn.
2001).

Thus, in that the applicable law decidedly precludes a defamation claim from being
imputed to a family member based solely on familial status, summary judgment must be granted
against M. Bean with respect to the Third Counterclaim, it its entirety, for this reason alone.
Mara, 2009 WL 3285075, at *2-3; (SOF, 491).

3. Defendants Admittedly Have Not Suffered Any Monetary And/or Reputational
Damages As A Result Of Any Of The Subject Emails And Thus Summary
Judgment Must Be Granted Against Each Of Them On This Basis Alone
Defendants each explicitly admitted at their respective depositions that none of them has

incurred any monetary and/or reputational damages as a result of any of the Subject Emails, as

required to prove defamation under Connecticut law. Hopkins, 282 Conn. at 838, 925 A.2d at

1042; Daley, 249 Conn. at 795, 734 A.2d at 129; (SOF, 486-89).

Accordingly, Defendants’ undisputed failure and inability to establish this essential
element of a defamation claim, on its own, requires that summary judgment be granted against

all of the Defendants with respect to the Third Counterclaim, in its entirety. Hopkins, 282 Conn.

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at 838, 925 A.2d at 1042; Mercer, 110 Conn. App. at 296-97, 955 A.2d at 561; Pollack vy.
Eitelberg, CV095011274S, 2012 WL 6634693, at *9, *13 (Conn. Super. Ct. Nov. 30,
2012)(where defendant “effectively admits that his claim for special damages is unsupported”
“no issue of fact exists as to whether the defendant is entitled to such damages”); Hauer v.
ECHN Comm. Healthcare Foundation, Inc., CV094046119S, 2012 WL 798861, at *4 (Conn.
Super. Ct. Feb. 16, 2012) (“plaintiff admits he cannot point to a specific harm which has befallen
him due to the utterance of the allegedly defamatory statements.”); Marczeski v. Law, 122 F.
Supp.2d 315, 325-26 (D. Conn. 2000); (SOF, 486-89).

Thus, by virtue of Defendants’ admitted lack of any damages whatsoever as a result of
any of the Subject Emails, on this basis alone, summary judgment must be granted against each
of the Defendants with respect to the Third Counterclaim in its entirety. (SOF, 486-89); Jd.

4, Summary Judgment Must Be Granted Against Each Of The Defendants
With Respect To The Subject Emails Which Do Not “Identify” Him Or Her

It is axiomatic that “an allegedly defamatory statement” must “identify” and “refer to”
the person claiming to be defamed thereby, which is an “element crucial to prevailing on a
common-law defamation claim.” QSP, Inc., 256 Conn. at 356, 773 A.2d at 916.

It is undisputed that (a) the 3/6/16 Email, 4/5/16 Email, and 6/3/16 Email, do not
“identify” R. Bean and, thus, do not defame him; (b) the 8/31/15 Email, the 3/6/16 Email, 6/3/16
Email, and the 7/20/16 Email do not “identify” E. Black, and thus do not defame her; and (c) the
8/31/15 Email, 2/9/16 Email, 3/6/16 Email, 3/4/16 Email, Second 3/4/16 Email, 3/7/16 Email,

Second 3/7/16 Email, the 4/5/16 Email, and 6/3/16 Email do not “identify” C. Bean and,

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therefore, do not defame him; and none of the Subject Emails identifies M. Bean.” (SOF, 9990,
92, 112, 119; Ex. W); OSP, Inc., 256 Conn. at 356, 773 A.2d at 916.

For this reason alone, summary judgment must be granted against Defendants,
respectively, with regard to the above-listed Subject Emails. Celotex, 477 U.S. at 322-23.

5. The Undisputed Facts Confirm That Certain Of The Subject Emails Are Comprised
Of Non-Actionable Opinion, Rather Than Fact, And Thus Are Not Defamatory

It is black-letter law that “[t]o be actionable, the defamatory statement must convey an
objective fact rather than an opinion.” Izzo v. Cyril-Scott Corp., No. 3:10-cv-1954, 2012 WL
13033133, at *4 (D. Conn. July 3, 2012)(emphasis added). A “statement can be defined as
factual if it relates to an event or state of affairs that existed in the past or present and is capable
of being known.” Goodrich, 188 Conn. at 111, 448 A.2d at 1321 (emphasis added).

In contrast, “exaggeration, hyperbole, ridicule, sarcasm, stylistic touches and figurative
expressions” are emblematic of non-actionable “opinion” and “cannot reasonably [be]
interpreted as stating actual facts.” Colon v. Town of W. Hartford, No. 3:00-cv-168, 2001 WL
45464, at *5 (D. Conn. Jan. 5, 2001); Goodrich, 188 Conn, at 121-24, 448 A.2d at 1326-27;
Milkovich v. Lorain Journal Co., 497 U.S. 1, 20 (1990) (“rhetorical hyperbole” or “imaginative
expression” not actionable). An “opinion...is a personal comment about another’s conduct,
qualifications or character that has some basis in fact.” Goodrich, 188 Conn. at 111, 448 A.2d at
1321; Coleman v. S. Central Conn. Regional Water Auth., No. 3:06-cv-1515, 2009 WL 350597,
at *5-6 (D. Conn. Feb. 12, 2009).

The documentary evidence, and Defendants’ deposition testimony, confirm that the
following Subject Emails are non-actionable statements of Plaintiffs’ “opinions”, rather than

“objective facts”:

 

° The Subject Emails listed herein do not include the Admitted Non-Defamatory Emails. Moreover, as discussed,
supra, none of the Subject Emails identifies M. Bean.

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a. The 2/9/16 Email

In the 2/9/16 Email, Mrs. Williams wrote that the Bean Property “ruin[ed] the look of
Water Street” and that R. Bean was a “barbarian”. (SOF, 998-99; Ex. W)(emphasis added).

Mrs. Williams’ statement in the 2/9/16 Email that “I could tell he was going to ruin the
look of Water Street” indisputably does not, on its face, “convey an objective fact” which is
“capable of being known”. Jzzo, 2012 WL 13033133, at *4; Goodrich, 188 Conn. at 121-22,
448 A.2d at 1326; Brewer v. Town of W. Hartford, No. 3:05-cv-849, 2007 WL 2904207, at *4-5
(D. Conn. Sept. 28, 2007)(statements prefaced with “[i/t appears” and “T believe” “set[] forth
[defendant’s] opinion”)(emphasis added); (SOF, 998-99; Ex. W)(emphasis added). Rather,
Mrs. Williams’ foregoing statement irrefutably, by its very terms, conveys her subjective,
“personal comment” and opinion regarding the aesthetic “look” of the Bean Property. Izzo, 2012
WL 13033133, at *4; Goodrich, 188 Conn. at 111, 121, 448 A.2d at 1321, 1326; (SOF, 4498-99;
Ex. W).

Moreover, Mrs. Williams’ reference to R. Bean as a “barbarian” is indisputably
“rhetorical hyperbole”, “exaggeration”, and “imaginative expression” which “cannot reasonably
[be] interpreted as stating actual facts” and/or be “take[n] literally.” Id.; Colon, 2001 WL 45464,
at *6 (emphasis added); Milkovich, 497 U.S. at 20; (SOF, 9998-99; Ex. W). Indeed, at his
deposition, R. Bean firmly conceded that Mrs. Williams’ statement — “he’s a barbarian” — is not
defamatory. (SOF, 99).

Further, Mrs. Williams’ statements in the 2/9/16 Email are prefaced with “cautionary
language” — i.e., “I could tell...” and “I’m thinking...” — which “make it clear [Mrs. Williams]

is engaging in speculation or conjecture”, and not stating an “objective fact”. (SOF 998; Ex.

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W)(emphasis added); Colon, 2001 WL 45464, at *5-6; Goodrich, 188 Conn. at 121, 448 A.2d at
1326.

b. The Second 3/4/16 Email

In the Second 3/4/16 Email, Mrs. Williams wrote: “we have a new neighbor who told the
world he’d build to see into our yard, and he’s done it.” (SOF, 102-104; Ex. W)(emphasis
added). The foregoing is non-actionable “exaggeration” and “hyperbole”, and “cannot
reasonably [be] interpreted as stating actual facts”, ie., that Mrs. Williams is “actual[ly]”,
“fact[ually]” stating that her “new neighbor” “told the world he’d build to see into” the Williams
Property. (SOF, 9]102-104)(emphasis added); Id.; Goodrich, 188 Conn. at 121, 448 A.2d at
1326; Milkovich, 497 U.S. at 20. Indeed, R. Bean admitted at his deposition that the above
statement in the Second 3/4/16 Email is an “exaggeration.” (SOF, 4103).

c. The 5/26/16 Email

The 5/26/16 Email (one of the Private Lives Emails (see, infra)) “strong[ly] signal[s]”
that it contains Plaintiffs’ personal observations and opinions. (SOF, fff110-111; Ex. W); Colon,
2001 WL 45464, at *5; Brewer, 2007 WL 2904207, at *4-5. Specifically, in the 5/26/16 Email,
Plaintiffs wrote that “...we can see the house was designed for spying in our direction”, and
expressly discloses the specific facts upon which their opinion is based, i.e., that “there are 19
south facing windows” and “far fewer windows that actually face the harbor.” (SOF, Ex.
W)(emphasis added); Colon, 2001 WL 45464, at *5; Grossman, 131 F. Supp.2d at 312
(“opinion...is a personal comment...that has some basis in fact’); Johnson v. Cheesebrough-
Pond’s USA Co., 918 F. Supp. 543, 552 (D. Conn. 1996)(“didn’t fit in” is a “matter[] of

opinion”).

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d. The Private Lives Emails

In 2016, Plaintiffs sent the Private Lives Emails as “a way of communicating
with...friends and family about what’s going on in [Plaintiffs’] lives.” (SOF, 110-111). Five
(5) of the Subject Emails are Private Lives Emails (3/14/16 Email, 4/5/16 Email, 5/26/16 Email,
6/3/16 Email, 9/12/16 Email). (SOF, §§110-111). By their very terms, the Private Lives Emails
contain Plaintiffs’ private, personal, subjective “observations and opinions” and, thus,
indisputably do not contain “statements of fact.” (SOF, §{110-111); Colon, 2001 WL 45464, at
=,

Specifically, the first line of the 4/5/16 Email conspicuously announces: “Reminder:
Private Lives is a letter to our friends and family to keep all abreast our activities, observations
and opinions”, which “cautionary language is a strong signal to an average reader that he is
reading the writer’s opinion, not statements of fact.” (SOF, 99110-111)(emphasis added);
Colon, 2001 WL 45464, at *5 (statement “appears on the page entitled ‘Opinion & Comment”;
“bly the very nature of this type of page, the average reader is influenced to read articles found
thereon as containing opinions, not facts.”)(emphases added). Thus, the “very nature” of the
Private Lives Emails confirms that their contents are “opinions, not facts.” Jd; (SOF, {§110-
111).

Accordingly, the undisputed evidence demonstrates that the Private Lives Emails are
“merely expressions of opinion” and, thus, summary judgment should be granted in favor of
Plaintiffs with respect to each of the Private Lives Emails. Grossman, 131 F. Supp.2d at 313.

6. The Subject Emails Which Are Indisputably Not “False” Are Not Defamatory
A statement which is “substantially true” is not defamatory as a matter of law. Gerrish v.

Paul Hammick et. al., No. CV1660705838, 2018 WL 3060082, at *8 (Conn. Super. Ct. May 31,

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2018)(granting summary judgment where “the main charge, or gist...is true”; it is “not
necessary for the defendant to prove the truth of every word of the libel”); Pollack, 2012 WL
6634693, at *7-9. As such, “[s]ummary judgment...is often granted...on the issue of substantial
truth.” Mercer, 110 Conn. App. at 303, 955 A.2d at 564.

a. The 8/31/15 Email, 3/4/16 Email, Second 3/7/16 Email,
4/5/16 Email, Second 4/5/16 Email, 5/26/16 Email

In or about April 2015, the Renovation Lawsuits were filed against Mr. and Mrs. Bean by
several residents of Stonington, including Martina Durner. (SOF, 15). On May 15, 2015, Ms.
Durner e-mailed Mrs. Williams as follows: “What do you think about the plans for the new
house of your neighbors? We have been trying to get them to lower their deck. They would not
budge because they want to be able to look over your hedges...” (SOF, 493)(emphasis added).

The undisputed evidence confirms that, after Mrs. Williams received the Durner Email,
in six (6) of the Subject Emails (8/31/15 Email, 3/4/16 Email, Second 3/7/16 Email, 4/5/16
Email, Second 4/5/16 Email, 5/26/16 Email)(the “Hedge Emails”), Mrs. Williams truthfully
repeated and/or referenced the substance of the Durner Email, and truthfully stated that she had
“heard” same from a third-party. (SOF, 1993-96, 101, 106, 107; Ex. W).

Specifically, in the Hedge Emails, Mrs. Williams repeated the statement in the Durner
Email as follows: (i) “Mr. Bean plans to build high enough to see over our hedge’’, (ii) “He has
also told neighbors that he rebuilt 28 Water to a height so he could look into our garden.”; (iii)
«a new neighbor...told the world he’d build to see into our yard...”; (iv) “I remember when
Martina told me. Bean had said he planned to build so high he could see over our hedge into
our garden”; (v) “We heard...that our new neighbor bragged he was building it high enough so
that he could see over our hedge”; (vi) “We were warned that Mr. Bean was telling people how

he was going to build a tall place which would overlook ours, including our garden...”,; (vii)

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“our new neighbor at 28 Water Street...was quoted as having said ‘This house....is going to be
so tall I will be able to look right into the Williams’ garden.” (SOF, ¥93-96, 101; Ex. W)¢all
emphases added).

The Hedge Emails are each “true, either substantially or literally.” (SOF, 9993-96, 101;
Ex. W); Mercer, 110 Conn. App. at 305, 955 A.2d at 565. First, it is undisputed that each of the
Hedge Emails truthfully states the fact that Mrs. Williams is repeating information she “heard”
from a third-party, specifically what “Martina [Durner] told” her. Rogus v. Bayer Corp., No.
3:02-cv-1778, 2004 WL 1920989, at *12 (D. Conn. Aug. 25, 2004); (SOF, 9993-96; Ex. W).
Second, each of the Hedge Emails truthfully repeats the substance of the Durner Email. Jd.
(summary judgment granted where “the only statement by the company — an accurate reporting
of another employee’s complaint about [plaintiff]....was truthful”)(emphasis added); (SOF,
4193-96, 101; Ex. W).

As expressly admitted by R. Bean and E. Black at their respective depositions, the Durner
Email is not defamatory and, thus, any repetition of the substance of the Durner Email is likewise
legally “innocuous”. (SOF, §994-96); /d. In that the record pointedly demonstrates that the
Hedge Emails truthfully, “accurately” “reference” the non-defamatory Durner Email, summary
judgment must be granted in Plaintiffs’ favor with respect to each of the Hedge Emails on this

basis alone. (SOF, 996; Ex. W); Rogus, 2004 WL 1920989, at *12.

 

b. The 3/14/16 Email

The 3/14/16 Email states, in part:

“But the new owner of the house has remodeled it, enlarged and heightened
it. (How he got the out-of-code extensions through the local planning
commission is a mystery. Other neighbors sued to try to stop it, but were

only moderately successful.)”

(SOF, Ex. W)(emphasis added).

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The evidence definitively confirms that the 3/14/16 Email is, entirely or “substantially
true”, which is an “absolute defense” to defamation under Connecticut law. Mercer, 110 Conn.
App. at 304-05, 955 A.2d at 564-65; (SOF, 4108). The substantial record in this case verifies
that the 3/14/16 Email is “substantially or literally” true in that, inter alia, Mr. and Mrs. Bean
concededly did, in fact, receive a “variance” from the Stonington P&Z — defined by the Zoning
Regulations as “[plermission to depart from the literal requirements of the Zoning
Regulations” -- with respect to the Bean House. (SOF, {{14, 108). R. Bean’s testimony that the
“variance” which was admittedly granted to Mr. and Mrs. Bean by the Stonington P&Z pertained
to the basement portion of the Bean House is legally irrelevant in that, as a matter of law, “it is
not necessary...to prove the truth of every word of the libel”; rather, the only pertinent inquiry is
whether “the main charge, or gist, of the libel is true.” Jd.; (SOF, 4108).

Thus, Mrs. Williams’ statement in the 3/14/16 Email -- “{h]ow he got the out-of-code
extensions through the local planning commission” (i.e., the Stonington P&Z) “is a mystery” --
is not false. (SOF 4108, Ex. W)(emphasis added); Id.; Pollack, 2012 WL 6634693, at *9 (“errors
in terminology” do not obviate “substantial truth”); Brewer, 2007 WL 2904207, * 4 (“[w]hile not
exactly the same, the admitted statement is materially similar”).

c. The 7/20/16 Email

The 7/20/16 Email states, in part:

“We hope to block some of the nineteen windows on the south side of 28
Water Street that face us, and make snooping more difficult...Our privacy
became even more important when last week a young man from next door

began taking photographs of us in our garden.”

(SOF 9125; Ex. W)(emphasis added).

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As discussed, supra, C. Bean admittedly photographed the Williams Property on at least
July 8, 2016, July 19, 2016 and July 20, 2016, as established by the undisputed evidence in the
record. (SOF, 43-64, 124). Thus, the statement in the 7/20/16 Email that “last week a young
man from next door began taking photographs of us in our garden” is not false. (SOF (Ex.
W))(emphasis added); Mercer, 110 Conn. App. at 304-05, 955 A.2d at 564-65; Brewer, 2007
WL 2904207, *5-6 (statement that plaintiff “produced a camera and began to take a series of
photographs” was not false and, thus, not defamatory because plaintiff “admits that he
photographed [the] car” and “took a picture of them”).

Moreover, the 7/20/16 Email does not state, as alleged by Defendants in the
Counterclaims, that “the Beans were snooping on the Williams”. (SOF, Ex. B at 486; Ex. W).
Rather, by its terms, the 7/20/16 Email states that Plaintiffs “planted” the Subject Trees
“to,..make snooping more difficult”, which statement does not even reference or identify any of
the Defendants and/or any conduct (“snooping” or otherwise) by any of the Defendants. (SOF
Ex. B at 986; Ex. W); Brewer, 2007 WL 2904207, *5-6.

d. The 9/12/16 Email

The 9/12/16 Email was indisputably sent after the Action was commenced and (a)
truthfully states that Plaintiffs filed the Action (“We have filed a lawsuit against our Stonington
neighbors”) and (b) accurately recites and describes the relief demanded by Plaintiffs in the
Complaint (“We are seeking an injunction to prevent their eavesdropping, spying, and
photographing us and our guests while we are in our property”). (SOF, 9125); Mercer, 110

Conn. App. at 304-05, 955 A.2d at 564-65; Brewer, 2007 WL 2904207, *5-6.

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By virtue of the foregoing arguments set forth in Section (B), supra, summary judgment
should be granted in Plaintiffs’ favor and against Defendants with respect to the Third
Counterclaim.

C. The Undisputed Material Facts Demonstrate That Plaintiffs Are

Entitled To Summary Judgment In Their Favor With Respect To

The Fourth and Fifth Counterclaims

The Fourth and Fifth Counterclaims purport to assert claims by all of the Defendants
against Plaintiffs for, respectively, absolute private nuisance and negligent private nuisance.
(SOF, Ex. B). Pursuant to Connecticut law, a “private nuisance exists only where one is injured
in relation to a right he enjoys by reason of his ownership of an interest in land” and requires a
“cognizable injury” resulting from “actual use and enjoyment of...land”. Ming Li v. Colonial
BT, LLC, No. 3:14-CV-999 (CSH), 2015 WL 5684060, at *4 (D. Conn. Sept. 28,
2015)(emphasis added); Klausner v. Estate of Borre, No. 1460225908, 2014 WL 7739232, at *4-
5 (Conn. Super. Ct. Dec. 29, 2014). Accordingly, “an owner or occupier” of land can recover for
“injuries [sustained]...in the enjoyment of the property of which he is in possession” pursuant to
a private nuisance claim. Ming Li, 2015 WL 5684060, at *5 (recognizing that minor children
physically “sharing possession” of land can assert private nuisance claims).

It is undisputed that C. Bean and M. Bean do not have any “ownership... .interest” in
and/or “possession” of the Bean Property, and admittedly do not “occup[y]” and/or reside at the
Bean Property; rather, they both permanently reside in Boston, Massachusetts. Ming Li, 2015
WL 5684060, at *4-5; (SOF, 992-4, 8, 11). Thus, indisputably, C. Bean and M. Bean have not
and cannot be “injured in relation to” any non-existent “interest” in the Bean Property. Id;
Couture v. Bd. Of Ed. Of Town of Plainfield, 6 Conn. App. 309, 315, 505 A.2d 432, 435 (Conn.

App. Ct. 1986)(“[b]ecause he suffered no injury in relation to his ownership of an interest in

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land, the plaintiff was precluded from recovering for private nuisance”); Boyne v. Glastonbury,
CV064024371, 2007 WL 2570335, at *3 (Conn. Super. Ct. Aug. 10, 2007).

Accordingly, Plaintiffs are entitled to summary judgment in their favor, and against C.
Bean and M. Bean, with respect to the Fourth and Fifth Counterclaims on this basis alone. Jd. ;
Barr v. Harbor Park Assocs., No. CV9201267228, 1992 WL 394541, at *1 (Conn. Super. Ct.
Dec. 24, 1992); Ridgefield Waterside Motors, LLC, 2017 WL 3332744, at *3 (where defendants
admitted in pleading that their “principal place of residence is” not the subject property, they
cannot recover under private nuisance claim).

Summary judgment must be granted against all of the Defendants with respect to the
Fourth and Fifth Counterclaims on the further ground that none of the purported “harassing and
intimidating actions” (the “Alleged Nuisance Actions”) upon which Defendants base the Fourth
and Fifth Counterclaims constitutes a “private nuisance” as a matter of law. (SOF (Ex. B at

473-81, 127, 133); (Exs. N, T at Nos. 7, 10); Pestey v. Cushman, 259 Conn. 345, 360, 788

 

A.2d 496, 507 (2002).

It is axiomatic that the sole “proper focus of a private nuisance claim for damages...is
whether a defendant’s... use of his or her property, causes an unreasonable interference with the
plaintiff's use and enjoyment of his or her property.” Pestey, 259 Conn. at 360, 788 A.2d at
507 (relevant “inquiry is ... whether the defendant’s conduct unreasonably interfered with the
plaintiff's use and enjoyment of his or her land rather than whether the defendant’s conduct
was itself unreasonable”)(emphases added).

Irrefutably, none of the Alleged Nuisance Actions (a) constitutes a “use of” the Williams
Property by Plaintiffs and/or (b) “cause[d] an...interference” (“unreasonable” or otherwise)

with Defendants’ “use and enjoyment” of the Bean Property. Id. (emphasis added); (SOF (Ex.

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B at 9973-81, 127, 133); (Exs.N, T at Nos. 7, 10)). As such, none of the Alleged Nuisance

 

Actions is the “proper focus of a private nuisance claim”. Jd.; Villa v. Salvaggio, No.
CV116022543S, 2014 WL 4290436, at *12-13 (Conn. Super. Ct. July 17, 2014)(nuisance must
be based on “conditions” and does “not arise from mere actions” such as “making gestures”,
which are “personal in nature, directed at the defendant’, and do “not connect to the manner in
which the defendant was using her property”)(emphases added); Klausner, 2014 WL 7739232,
at *5 (“private nuisance is something that physically impacts the ability to use and enjoy
property”).

Additionally, the undisputed record, and Defendants’ own unambiguous admissions,
plainly confirm that they have not suffered any damages whatsoever as a result of the matters
alleged in the Fourth and Fifth Counterclaims. (SOF, 129-132); Fanion v. Radei, No.
0750012508, 2009 WL 3740738, at *11-12 (Conn. Super. Ct. Oct. 16, 2009).

Accordingly, summary judgment should be granted in Plaintiffs’ favor, and against all of
the Defendants, with respect to the Fourth and Fifth Counterclaims.

D. The Undisputed Material Facts Demonstrate That Plaintiffs Are

Entitled To Summary Judgment In Their Favor And Against

R. Bean And E. Black With Respect To The Sixth Counterclaim

A violation of Conn. Gen. Stat. §52-570 (a “CGA §52-570 Claim”) requires a showing,
inter alia, of (1) a “structure erected on the owner’s...land”; (2) “malicious[ly]”; (3) “the
intention to injure the enjoyment of the adjacent landowner’s land”; (4) “impairment of the value
of adjacent land because of the structure”; (5) “the structure [is] useless to the defendant”; and
(6) “enjoyment of the adjacent landowner’s land in fact [was] impaired.” Davis v. Property
Owners Assn., CV1260068238, 2016 WL 1099213, at *9-10 (Conn. Super. Ct. Feb. 24, 2016);

Tchernotzkas v. Friar, No. cv04833336S, 2005 WL 525657, at *13 (Conn. Super. Ct. Jan. 14,

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2005)(structure not “maliciously erected” even though it “will interfere with the plaintiffs’
view”).

1. The Undisputed Facts Establish That The
Subject Trees Were Not “Maliciously Erected”

The gravamen of a CGA §52-570 Claim is a “malicious structure”. Tchernotzkas, 2005
WL 525657, at *13 (emphasis added). A structure is “maliciously erected” only if it is
completely “useless to the owner” and “serves, and is intended to serve, no purpose but to injure
[a landowner] in the enjoyment of his land.” Jackson v. Lee, 51 Conn. Supp. 399, 418, 996 A.2d
762, 775 (Conn. Super. Ct. 2009); Whitlock v, Uhle, 75 Conn. 423, 53 A. 891, 892 (Conn.
1903)(emphasis added).

As confirmed by E. Black’s sworn deposition testimony, Defendants admittedly have
“nothing in writing” whatsoever to substantiate their allegation that the Subject Trees were
“erected....with malicious intent” and, instead, are admittedly relying solely on “conjecture” for
same. (SOF, 99142-143). According, by virtue of E. Black’s and R. Bean’s undisputed lack of
any proof that the Subject Trees were “maliciously erected”, for this reason alone, summary
judgment must be granted against E. Black and R. Bean with respect to the Sixth Counterclaim.
Id.

In addition to Defendants’ binding admissions regarding the wholesale absence of
“malic[e]”, additionally, the undisputed facts decidedly establish that the Subject Trees were not
“maliciously erected” by Plaintiffs. Jackson, 51 Conn. Supp. at 418, 996 A.2d at 775; Whitlock,
75 Conn. 423, 53 A. at 892; (SOF, 9134-147). Specifically, the record confirms that the Subject
Trees irrefutably “fulfilled a useful purpose” for Plaintiffs’, i.e., to protect their privacy while on

the Williams Property. (SOF, 4133); Davis, 2016 WL 1099213, at *10; Decarlo v. Priest, No.

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CV-000177-73, 2000 WL 486852, at *2 (Conn. Super. Ct. Apr. 10, 2000); Bradford v.
Kimmerle, No. 113078, 1999 WL 545356, at *4-5 (Conn. Super. Ct. July 19, 1999).

2. R. Bean And E. Black Admittedly Have No Proof Whatsoever That The “Value Of”
The Bean Property Was “ImpairJed]” “Because Of” The Subject Trees

It is wholly undisputed that R. Bean and E. Black lack any evidence whatsoever that the
“value of” the Bean Property has been “impair[ed]” -- “because of” the Subject Trees or
otherwise — as confirmed by their sworn deposition admissions. (SOF, 129-132, 141-145);
Sachs v. Henwood, No. CV980163554, 2001 WL 1132109, at *5 (Conn. Super. Ct. Aug. 17,
2001); Palladino v. Pellini, No. CV0401998218, 2005 WL 590090, at *4-5 (Conn. Super. Ct.
Feb. 2, 2005); Tchernotzkas, 2005 WL 525657, at *13.

Rather, Mr. and Mrs. Bean admittedly are relying solely on their subjective “belief” and
“assumption” that the Bean Property is “difficult to sell” and/or that the “fair market value of the
Bean Property has decreased”, and concede that they do not have “any proof” whatsoever to
support such speculative “assumption.” (SOF, 129-130, 141-145); CSL Silicones, Inc. v.
Midsun Gp., Inc., 301 F. Supp.3d 328, 375 (D. Conn. 2018)(“surmise and conjecture cannot
create a genuine issue of fact”); Sachs, 2001 WL 1132109, at *5; Palladino, 2005 WL 590090, at
*4.5- Tchernotzkas, 2005 WL 525657, at *13 (“evidence that the erection of the structure might
impair the value of the adjacent land” insufficient without “evidence that the value will be
diminished”). Thus, summary judgment must be granted in Plaintiffs’ favor for this reason
alone. Id.

Moreover, summary judgment with respect to the Sixth Counterclaim is warranted on the
additional, independent basis that R. Bean and E. Black admittedly have no proof whatsoever of
any “impairment of the value” of the Bean Property “because of” the Subject Trees. Palladino,

2005 WL 590090, at *3-4 (emphasis added); Whitlock, 75 Conn. 423, 53 A. at 892. In point of

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fact, E. Black testified that any “impairment” — albeit, based entirely on her “assumption” and
subjective “belief” -- is “because of” “publicity” regarding this Action and generalized
“information about the Williams” — not the Subject Trees. (SOF, §9]129-132, Ex. J); Palladino,
2005 WL 590090, at *3-4 (emphasis added). Tellingly, E. Black admitted that any purported
inability “to sell the Bean Property” will remain only “while the Williams are still [Defendants |
neighbors to the south”, thus conceding that the continued presence of the Subject Trees has no
impact on the “value” of the Bean Property. (SOF, 9129-132; Ex. J); Palladino, 2005 WL
590090, at *3-4.

Accordingly, for the foregoing reasons, summary judgment must be granted against R.
Bean and E. Black with respect to the Sixth Counterclaim.
E. The Undisputed Material Facts Demonstrate That Plaintiffs

Are Entitled To Summary Judgment In Their Favor With
Respect To The Seventh Counterclaim

In the Seventh Counterclaim, R. Bean and E. Black seek “injunctive relief ordering the
Williams to remove the trees” and “imposing such conditions on the Williams as are required to
protect the Bean Family’s use and enjoyment of the Bean Property and Mr. Bean and Ms.
Black’s ability to sell the Bean Property in the future” (the “Proposed Injunction”). (SOF, Ex. B
at 49147, 149).

Pursuant to CGA §52-480, an “injunction may be granted against the malicious erection”
of a “structure”. Palladino, 2005 WL 590090, at *3-4. As demonstrated, supra, the Subject
Trees were undeniably not “malicious[ly] erect[ed]”. Jd. Thus, summary judgment must be
granted against R. Bean and E. Black with respect to the Seventh Counterclaim on this basis
alone. Id.; Grippo v. Middletown Bible Church, No. CV0100095682S, 2004 WL 2284071, at

*6-7 (Conn. Super. Ct. Sept. 9, 2004).

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Additionally, the undisputed facts demonstrate Mr. and Mrs. Bean’s failure and inability
to establish the onerous prerequisites to obtaining injunctive relief, i.e., “immediate”,
“irreparable harm” in the absence of an injunction, “lack of an adequate remedy at law”, and that
the “balance of equities” weighs in favor of granting an injunction. (SOF, 27-29, 35,42-48, 55,
63, 72, 134-139); Id.; Haggerty v. Parniewski, 11 Conn.App. 37, 39, 525 A.2d 984, 986 (Conn.
App. Ct. 1987). It is black-letter law that a “party seeking injunctive relief has the burden of
alleging and proving irreparable harm and lack of an adequate remedy at law.” Jd. For the
below reasons, R. Bean and E. Black have undeniably failed to satisfy their foregoing “crucial”,
stringent “burden”. Id.

First, the substantial record is replete with explicit admissions by R. Bean and E. Black
which clearly show the clear-cut lack of any “imminent”, “substantial and irreparable harm” to
R. Bean and E. Black without the Proposed Injunction. (SOF, 927-29, 35,42-48, 55, 63, 72,
134-139)); Tehernotzkas, 2005 WL 525657, at *15 (denying injunction to remove fence without
a showing that “substantial and irreparable harm is imminent”).

In point of fact, according to the substantial record, R. Bean and E. Black admitted that
(a) they were expressly notified by Plaintiffs’ gardener as early as April 2016 — three (3) months
prior to the Subject Trees being planted — that Plaintiffs “intended to plant even taller trees along
the parties’ shared property line”; (b) in May 2016, Plaintiffs “planted four (4) large trees along
the parties’ shared property line”; (c) “in early June 2016”, Plaintiffs’ gardener “again
contacted” Defendants “and advised that [Plaintiffs] were planning to plant additional, taller
trees along the property line”; (d) throughout June and July 2016, Defendants had a “great deal
of discussion” with Plaintiffs’ gardener regarding Plaintiffs’ planned installation of the Subject

Trees; (e) on June 22, 2016, C. Bean listened in on private conversions occurring at the Williams

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Property and “heard” that Plaintiffs were “talking about planting evergreens”; and (f) on July 19,
2016 and July 20, 2016 — three (3) entire months after first being advised regarding Plaintiffs’
proposed planting -- “the initial four trees were removed and...replaced with” the Subject Trees.
(SOF, 9927-29, 35,42-48, 55, 63, 72, 134-139).

Notwithstanding, at no point whatsoever after first being notified in April 2016 regarding
Plaintiffs’ intended planting did Defendants object to and/or oppose same -- including by
contacting Plaintiffs and/or filing a complaint or grievance with the Stonington P&Z — until they
filed the Counterclaims five (5) entire months later, solely in response and reaction to Plaintiffs
filing the Complaint. (SOF, 139-140). Thus, the record decidedly negates any “imminent”
“irreparable harm” to R. Bean and E. Black in the absence of the Proposed Injunction —
presently and/or at any time since Plaintiffs’ gardener first provided Defendants with express,
advance warning that the “fall[]” Subject Trees would be installed two years ago. Tchernotzkas,
2005 WL 525657, at *15.

Second, as discussed, supra, simultaneously during the planting of the Subject Trees on
July 19, 2016 and July 20, 2016, C. Bean repeatedly photographed the Subject Trees and sent
same to R. Bean and E. Black via text messages on those dates. (SOF, 48-49, 53-55, 60-63).
E. Black’s dismissive response to one such photograph was a facially unconcerned “WTF. Who
cares?” and R. Bean’s response was “That it?” (SOF, 55)(emphasis added). As such, the
undisputed facts clearly establish that R. Bean and E. Black will not be “irreparably harmed”
without the Proposed Injunction. Jd.; Cunha v. Petela, CV030284981S, 2005 WL 3663517, at
*3-4 (Conn. App. Ct. Dec. 14, 2005)(“no credible evidence [of]... irreparable damage[] or harm

to the plaintiffs' property”; no “imminent danger” due to wall on adjacent property).
Pp property

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Third, in no uncertain terms, R. Bean and E, Black expressly concede that they have an

 

“adequate remedy at law” with respect to the Subject Trees (assuming, arguendo, that the
Subject Trees violate CGA §52-570) in the form of money damages calculated based on “the
diminution of the value of the Bean Property.” (SOF, Ex. B); Cunha, 2005 WL 3663517, at *3-
4; Haggerty, 11 Conn.App. at 39, 525 A.2d at 986.

R. Bean’s and E. Black’s allegation in the Seventh Counterclaim that they have “no
adequate remedy at law because the Williams will continue their behavior to the detriment of the
Bean Family’s rights and property unless ordered by the Court to cease said behavior’ is legally
irrelevant in that the statutorily circumscribed scope of an injunction pursuant to CGA §52-480 is
“against the malicious erection” of a “structure”, not any purported “behavior.” (SOF, Ex. B at
1144); Palladino, 2005 WL 590090, at *3-4. In point of fact, by virtue of the very fact that they
seek an “injunction” with respect to Plaintiffs’ “behavior”, R. Bean and E, Black indisputably
concede that their purported “damages” are not “because of” the Subject Trees. (SOF, Ex. B at
4144).

Fourth, indisputably, the undisputed facts clearly establish that the “balance of equities”
mandates denial of the Proposed Injunction. Keating v. Greene, No. FSTCV07401 10898, 2010
WL 2108481, at *11 (Conn. Super. Ct. Apr. 23, 2010)(“equity does not favor requiring
[defendant] to reverse her landscaping” which would “reverse hundreds of thousands of dollars
of landscaping improvements which were made wholly on [defendant’s] property”); Sachs, 2001
WL 1132109, at *5 (“an order directing the removal of the driveway....under the facts and
circumstances of the case and a balancing of the equities and hardships, would be a wasteful and

inappropriate one.”); (SOF, 927-29, 35,42-48, 55, 63, 72, 134-139).

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Likewise, the Proposed Injunction would require Plaintiffs to “reverse” their costly
installation of the Subject Trees (i) two (2) years after Plaintiffs provided Defendants with ample
prior notice regarding Plaintiffs’ forthcoming planting of the Subject Trees, (ii) despite
Defendants’ admitted receipt of fulsome, ongoing, detailed updates from Plaintiffs’ gardener in
June and July 2016; and (iii) despite the undisputed, astonishing fact that C. Bean admittedly,
closely monitored and photographed Plaintiffs’ installation of the Subject Trees at R. Bean’s and
E. Black’s express “request” for two (2) entire days on July 19, 2016 and July 20, 2016 and sent
those photographs and updates to R. Bean and E. Black throughout those two (2) days. (SOF,
27-29, 35,42-48, 55, 63, 72, 134-139). Unquestionably, the “balance of equities” weighs
emphatically against granting the Proposed Injunction, which would undeniably be “wasteful and
inappropriate” in light of the overwhelming evidence. Keating, 2010 WL 2108481, at *11;
Sachs, 2001 WL 1132109, at *5.

Accordingly, for the foregoing reasons, summary judgment must be granted against R.
Bean and E. Black with respect to the Seventh Counterclaim.

F. The Undisputed Material Facts Demonstrate That Plaintiffs

Are Entitled To Summary Judgment In Their Favor With

Respect To The Eighth Counterclaim

Under Connecticut law, a “person specifically and materially damaged by a violation of
the zoning ordinances...may seek injunctive relief restraining such violation” “as an exception to
the exhaustion of administrative remedies doctrine.” Karls v. Alexandra Realty Corp., 179 Conn.
390, 401-03, 426 A.2d 784, 789 (Conn. 1980); Reichenbach v. Kraska Enterprises, LLC, 105
Conn. App. 461, 468, 938 A.2d 1238, 1244 (Conn. App. Ct. 2008).

It is black-letter law that injunctive relief is an “extraordinary remedy”; as such, a party

seeking an injunction with respect to a zoning violation “bears the burden of proving facts which

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will establish irreparable harm as a result of that violation” and “that such harm is imminent”
Karls, 179 Conn. at 401-03, 426 A.2d at 789; Stewart v. Gothie, No. CV990549831S, 2001 WL
686851, at *4 (Conn. Super. Ct. May 25, 2001).

As discussed, supra, the substantial record overwhelmingly confirms that R. Bean and E.
Black have not, and cannot, establish any “imminent” or “irreparable” harm whatsoever as a
result of the Subject Trees. Id.; Karls, 179 Conn. at 401-03, 426 A.2d at 789. Indeed, in light of
R. Bean’s and E. Black’s admitted “great deal of discussion” with Plaintiffs’ gardener regarding
the planned Subject Trees for several months --- between April and July 2016 -- R. Bean and E.
Black were privy to detailed, advance information regarding Plaintiffs’ planned planting of the
Subject Trees and, yet, never opposed or objected to same — either to Plaintiffs or by filing a
formal complaint with the Stonington P&Z,!° (SOF, 9927-29, 35,42-48, 55, 63, 72, 134-139).
Further, in addition to the foregoing fulsome, advance information disclosed to Defendants
throughout April, May, June, and July 2016, Defendants also obtained additional information
regarding Plaintiffs’ planned installation of the Subject Trees by virtue of C. Bean’s
eavesdropping and monitoring Plaintiffs and photographing the Williams Property, including,
inter alia, on June 22, 2016, when he text messaged R. Bean and E. Black regarding the
Williams Property to report: “some people back there today talking about planting evergreens”
“think that’s what I heard.” (SOF, 942-63, 71-72)(emphasis added).

Thus, against the foregoing, abundantly documented backdrop, R. Bean and E. Black are

irrefutably not entitled to an injunction requiring Plaintiffs to “remove the trees” and, thus,

 

'° According to the Court’s November 8, 2017 Order partially granting Plaintiffs’ motion to dismiss the
Counterclaims: “absent more factual detail regarding what the Beans knew, or should have known, and when, the
Court is not well positioned to assess why the Beans allegedly failed to immediately raise their hackles at news of
the Williams' plan to plant taller trees.” (ECF No. 80). As demonstrated, supra, the evidence developed in
discovery clearly established “whar the Beans knew” — i.e., specific information regarding the “type” and
“placement” of the Subject Trees and “when” — at least as of April 2016 -- which information was regularly
updated. (SOF, 927-29, 35,42-48, 55, 63, 72, 134-139)(emphasis added).

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summary judgment should be granted in favor of Plaintiffs and against R. Bean and E. Black

with respect to the Eighth Counterclaim.

CONCLUSION

For all of the foregoing reasons, Plaintiffs’ motion for summary judgment should be

granted in all respects, together with such other and further relief as this Court deems just and

proper under the circumstances.

Dated: July 20, 2018

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